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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 SJUNDE AP-FONDEN, Individually and on
 behalf of all others similarly situated,
                                                        Case No.: 23-cv-01921-FB-JRC
                       Plaintiff,
                v.

 JOSEPH J. DEPAOLO, ERIC HOWELL,
 FRANK SANTORA, JOSEPH SEIBERT,
 SCOTT A. SHAY, VITO SUSCA, STEPHEN
 D. WYREMSKI, and KPMG LLP,

                       Defendants.



        FEDERAL DEPOSIT INSURANCE CORPORATION AS RECEIVER FOR
             SIGNATURE BANK’S NOTICE OF MOTION TO DISMISS


        PLEASE TAKE NOTICE that, pursuant to the Order, dated December 5, 2023, granting

 the Federal Deposit Insurance Corporation (“FDIC”) as Receiver for Signature Bank (“FDIC-R”)

 permission to intervene to file a motion to dismiss (ECF No. 74), and upon the Complaint (ECF

 No. 70), dated December 1, 2023, the accompanying Memorandum of Law in Support of the

 Motion to Dismiss, the Declaration of Donald G. Grieser, sworn to on August 30, 2023, and the

 exhibits thereto, and upon all papers and pleadings previously filed in this action, FDIC-R will

 move this Court, before the Honorable Frederic Block, United States District Judge for the Eastern

 District of New York, at the Theodore Roosevelt Federal Courthouse, 225 Cadman Plaza East,

 Brooklyn, NY 11201, on a date and time to be determined by the Court, for an order granting the

 FDIC-R’s motion to dismiss for lack of subject-matter jurisdiction and lack of prudential standing

 and failure to state a claim upon which relief can be granted pursuant to Rules 12(b)(1) and
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 12(b)(6) of the Federal Rules of Civil Procedure, and granting such other and further relief as the

 Court deems just and appropriate.

 December 22, 2023


                                                     WOLLMUTH MAHER & DEUTSCH LLP

                                                     By:   /s/ Ryan A. Kane
                                                           Ryan A. Kane
                                                           Adam M. Bialek
                                                           Maxwell G. Dillan
                                                           Nicole C. Rende
                                                           500 Fifth Avenue
                                                           New York, New York 10110
                                                           Phone: (212) 382-3300
                                                           rkane@wmd-law.com
                                                           abialek@wmd-law.com
                                                           mdillan@wmd-law.com
                                                           nrende@wmd-law.com

                                                           Attorneys for Federal Deposit
                                                           Insurance Corporation as Receiver for
                                                           Signature Bank




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